                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

                                                       )
TRACEY K. KUEHL, et al.,                               )   Case No. C14-02034-JSS
                                                       )
                       Plaintiffs,                     )   DECLARATION OF JESSICA
        v.                                             )   BLOME IN SUPPORT OF
                                                       )   PLAINTIFFS’ THIRD MOTION IN
PAMELA SELLNER, et al.,                                )   LIMINE REGARDING ORDER OF
                                                       )   PROOF
                       Defendants.                     )
                                                       )   Judge: Hon. Jon Stuart Scoles
                                                       )   Trial Date: October 5-8, 2015
                                                       )

                         DECLARATION OF JESSICA BLOME

        1.      I am one of Plaintiffs’ attorneys in this matter. I have personal knowledge

of the facts set forth herein.

        2.      Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’

Designation of Expert Witnesses.

        3.      Attached hereto as Exhibit 2 is a true and correct copy of Defendants’

Designation of Expert Witnesses.

        4.      Attached hereto as Exhibit 3 is a true and correct copy of Plaintiffs

Designation of David Allen as a Rebuttal Witness.

        5.      Defendants did not notice Plaintiffs’ experts’ depositions, nor did

Defendants serve expert discovery on Plaintiffs’ experts.

        6.      As counsel for Plaintiffs, I caused to be filed expert declarations from

Plaintiffs’ experts in conjunction with the Plaintiffs’ motion for summary judgment (ECF

Nos. 21-30 through 21-32). Mr. Allen’s Affidavit was ECF No. 21-30.




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       7.      Defendants did not, in their resistance or at any time since then, seek to

counter Plaintiffs’ experts’ declarations with Defendants’ experts’ opinions.

       I declare under the penalty of perjury under the laws of the United States that the

foregoing is true and correct.

EXECUTED in Cotati, California, this 4th day of September, 2015.

                                                    /s Jessica Blome
                                                    Jessica L. Blome (pro hac vice)
                                                    Missouri Bar No. 59710
                                                    jblome@aldf.org




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